      CASE 0:10-cr-00288-PAM-DTS        Doc. 499    Filed 12/08/11    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                     Criminal No. 10-288 (6) (RHK/JSM)

                      Plaintiff,              ORDER SEALING DOCUMENT

vs.

Kevin Julian Straw,

                      Defendant.



      This matter is before the Court on the Government’s Motion to Seal Document.

Based upon all the records and proceedings herein, IT IS ORDERED that the

Government’s Motion (Doc. No. 490) for sealing the position paper regarding sentencing

is GRANTED.

Dated: December 8, 2011

                                       s/Richard H. Kyle
                                       RICHARD H. KYLE
                                       United States District Judge
